             Case 3:14-cr-01784-MMA                       Document 83               Filed 10/22/14             PageID.239               Page 1 of 2
      ~o 245B (CASD) (Rev 4/14)    Judgment in a Criminal Case
                 Sheet I



                                              UNITED STATES DISTRICT COURT
                                                  SOUTHERN DISTRICT OF CALIFORNIA                                                         ..., r,           II. II4
                                                                                                                               I L"'I     L~         j,;!    i"

                      UNITED STATES OF AMERICA                                     JUDGMENT IN A CRIMINAL CASE
                                        v.                                         (For Offenses Committed On or After November ( 1987)

                      GERARDO NAVARRO-RIOS (2)                                                                                                                  ~~"   '0 ~   -2

                                                                                   Case Number: 14CR1784 MMA
                                                                                   KURT DAVID HERMANSEN
                                                                                   Defendant's Attorney
    REGISTRATION NO. 71870208

    o
    THE DEFENDANT:
    181 pleaded guilty to count(s) TWO OF THE INFORMATION
    o     was found guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          after a plea of not guilty.
          Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                              Count
    Title & Section                          Nature of Offense                                                                              Number(s)
8 USC 1326(a) and (b)                 REMOVED ALIEN FOUND IN THE UNITED STATES                                                              2




        The defendant is sentenced as provided in pages 2 through     _2_ _ ofthis judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
  o   The defendant has been found not guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

  o   Count(s)                                                                       is   0    areD dismissed on the motion ofthe United States.
  f8I Assessment: $100.00

  \81 Fine waived                                   0 Forfeiture pursuant to order filed                                       , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in tbOl defendant's economic circumstances.




                                                                              UNITED STATES DISTRICT JUDGE



                                                                                                                                                    14CR1784 MMA
         Case 3:14-cr-01784-MMA                      Document 83        Filed 10/22/14        PageID.240          Page 2 of 2
AD 245B (CASD) (Rev 4114)   Judgment in a Criminal Case
           Sheet 2   Imprisonment

                                                                                               Judgment - Page    2     of       2
 DEFENDANT: GERARDO NAVARRO-RIOS (2)
 CASE NUMBER: 14CR1784 MMA
                                                           IMPRISONMENT
        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
        TWENTY-FOUR (24) MONTHS



    o Sentence imposed pursuant to Title 8 USC Section 1326(b).
    [gI The court makes the following recommendations to the Bureau of Prisons:
         COURT RECOMMENDS PLACEMENT IN THE WESTERN REGION OF THE UNITED STATES.




    o The defendant is remanded to the custody of the United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
           Oat                                     Oa.m.    Op.m.       on _ _ _ _ _ _ _ _ _ _ __
               as notified by the United States Marshal.

    o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          o before ----------------------------------------------------------------------------
          o as notified by the United States Marshal.
          o as notified by the Probation or Pretrial Services Office.
                                                              RETURN

 I have executed this judgment as follows:

         Defendant delivered on                                                   to

 at _______________ , with a certified copy of this judgment.


                                                                                             UNITED STATES MARSHAL

                                                                    By
                                                                         ----------~D~E~P~U~T~Y~UN~ITE~D~S~T~A~T~ES~M~AR~S~HAL~-----------




                                                                                                                      14CR1784 MMA
